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                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

In re: DN REAL ESTATE SERVICES &                        §         Case No. 17-55587-PMB
       ACQUISITIONS LLC                                 §
                                                        §
                                                        §
                      Debtor(s)


                                  NOTICE OF TRUSTEE’S FINAL REPORT AND
                                    APPLICATIONS FOR COMPENSATION
                                      AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that S. Gregory Hays,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                           1340 Richard B. Russell Bldg.
                                             75 Ted Turner Drive, SW
                                                Atlanta, GA 30303
        Please take further notice that the Court will hold a hearing on the Trustee’s Final Report and
Applications for Compensation in Courtroom 1202, United States Courthouse, 75 Ted Turner Drive, SW,
Atlanta, Georgia, at 2:00 p.m. on October 5, 2020.

        Given the current public health crisis, hearings may be telephonic only. Please check the “Important
Information Regarding Court Operations During COVID-19 Outbreak” tab at the top of the GANB Website prior
to the hearing for instructions on whether to appear in person or by phone.

         Your rights may be affected by the Court’s ruling on these pleadings. You should read these pleadings
carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.) If you do not want the Court to grant the relief sought in these
pleadings or if you want the court to consider your views, then you and/or your attorney must attend the
hearing. You may also file a written response to the pleading with the Clerk at the address stated below, but
you are not required to do so. If you file a written response, you must attach a certificate stating when, how and
on whom (including addresses) you served the response. Mail or deliver your response so that it is received by
the Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk, U.S.
Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of your
response to the undersigned at the address stated below.

Date Mailed: 09/03/2020                                     By:: /s/ S. Gregory Hays
                                                                              Chapter 7 Trustee
S. Gregory Hays
2964 Peachtree Road, NW, Ste. 555


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Atlanta, GA 30305
(404) 926-0060




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                                       UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF GEORGIA
                                               ATLANTA DIVISION

In re:DN REAL ESTATE SERVICES &                               §      Case No. 17-55587-PMB
      ACQUISITIONS LLC                                        §
                                                              §
                                                              §
                        Debtor(s)


                                     SUMMARY OF TRUSTEE’S FINAL REPORT
                                     AND APPLICATIONS FOR COMPENSATION

                   The Final Report shows receipts of :                              $                         43,205.89
                   and approved disbursements of:                                    $                            444.77
                   leaving a balance on hand of1:                                    $                         42,761.12

              Claims of secured creditors will be paid as follows:

  Claim       Claimant             Claim Asserted         Allowed Amount of        Interim Payments to             Proposed
  No.                                                                Claim                       Date               Payment
  2           DeKalb County                    0.00                       0.00                        0.00               0.00
              Tax
              Commissioner
  8           LendingHome              396,716.81                 396,716.81                          0.00               0.00
              Funding Corp.

                                                  Total to be paid to secured creditors:          $                      0.00
                                                  Remaining balance:                              $                 42,761.12

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                                Total           Interim          Proposed
                                                                              Requested       Payments to           Payment
                                                                                                    Date
  Trustee, Fees - S. Gregory Hays                                                5,070.59              0.00         4,211.04
  Trustee, Expenses - S. Gregory Hays                                               81.23              0.00            67.46
  Accountant for Trustee, Fees - Hays Financial Consulting,                      7,920.00              0.00         6,577.43
  LLC
  Accountant for Trustee, Expenses - Hays Financial                                 79.15              0.00            65.73
  Consulting, LLC
  Fees, United States Trustee                                                      293.39              0.00           293.39


           1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
      earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
      receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
      account of the disbursement of the additional interest.

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  Reason/Applicant                                                         Total           Interim      Proposed
                                                                       Requested       Payments to       Payment
                                                                                             Date
  Attorney for Trustee Fees (Other Firm) - Arnall Golden                16,763.50             0.00      13,921.81
  Gregory LLP
  Attorney for Trustee Expenses (Other Firm) - Arnall Golden                 29.88            0.00          24.82
  Gregory LLP

                Total to be paid for chapter 7 administrative expenses:                   $              25,161.68
                Remaining balance:                                                        $              17,599.44

            Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                         Total           Interim      Proposed
                                                                       Requested       Payments to       Payment
                                                                                             Date
  Attorney for D-I-P Fees (Chapter 11) - Slipakoff & Slomka, PC         12,777.00             0.00      12,777.00
  Prior Chapter Accountant for Trustee/DIP Fees (Other Firm) -           2,250.00             0.00       2,250.00
  Smith & Shin CPAS, LLC

                Total to be paid for prior chapter administrative expenses:               $              15,027.00
                Remaining balance:                                                        $               2,572.44

             In addition to the expenses of administration listed above as may be allowed by the Court,
    priority claims totaling $1,000.00 must be paid in advance of any dividend to general (unsecured)
    creditors.
             Allowed priority claims are:
  Claim    Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                    of Claim                 to Date                Payment
  6P       INTERNAL REVENUE                               1,000.00                     0.00              1,000.00
           SERVICE

                                               Total to be paid for priority claims:      $               1,000.00
                                               Remaining balance:                         $               1,572.44

            The actual distribution to wage claimants included above, if any, will be the proposed
    payment less applicable withholding taxes (which will be remitted to the appropriate taxing
    authorities).
            Timely claims of general (unsecured) creditors totaling $157,244.42 have been allowed and
    will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
    timely allowed general (unsecured) dividend is anticipated to be 1.0 percent, plus interest (if
    applicable).
            Timely allowed general (unsecured) claims are as follows:




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  Claim       Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                      of Claim                 to Date               Payment
  1           Fifth Third Bank                              6,724.28                   0.00                     67.24
  3           American Express Bank, FSB                  10,977.12                    0.00                    109.77
  4           BB&T Bankruptcy                               1,505.19                   0.00                     15.05
  5           BB&T Bankruptcy                               2,417.65                   0.00                     24.18
  6U          INTERNAL REVENUE                                200.00                   0.00                      2.00
              SERVICE
  7           Jeffrey L. Stamey                           46,181.07                    0.00                    461.81
  9           U.S. Bank NA dba Elan                         2,081.05                   0.00                     20.81
              Financial Services Bankruptcy
              Department
  10          H4 Solutions Group, Inc.                    32,846.68                    0.00                    328.47
  11          H4 Investments Group, LLC                   54,311.38                    0.00                    543.11

                      Total to be paid for timely general unsecured claims:               $                1,572.44
                      Remaining balance:                                                  $                    0.00

               Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
       be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
       claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
       interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                      of Claim                 to Date               Payment

                                                         None

                      Total to be paid for tardily filed general unsecured claims:        $                       0.00
                      Remaining balance:                                                  $                       0.00

                Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
       ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only
       after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
       dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
       applicable).
                Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
       ordered subordinated by the Court are as follows:

                                                         None




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  Claim    Claimant                             Allowed Amount        Interim Payments               Proposed
  No.                                                  of Claim                 to Date               Payment

                                                     None

                                           Total to be paid for subordinated claims: $                        0.00
                                           Remaining balance:                        $                        0.00




                                               Prepared By: /s/ S. Gregory Hays
                                                                         Chapter 7 Trustee
    S. Gregory Hays
    2964 Peachtree Road, NW, Ste. 555
    Atlanta, GA 30305
    (404) 926-0060




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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